






NO. 07-05-0349-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



AUGUST 31, 2006



______________________________


	

JESSE VASQUEZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE COUNTY COURT AT LAW NO. ONE OF LUBBOCK COUNTY;



NO. 2004-490125; HONORABLE RUSTY B. LADD, JUDGE


_______________________________




Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION


	Appellant Jesse M. Vasquez, following his trial by jury, appeals his conviction for
resisting arrest and his jury-imposed sentence of seven days in the Lubbock County Jail
and a fine of $2,000.00.  We will affirm the judgment and grant counsel's motion to
withdraw in the case.

	Appellant's counsel has filed a brief stating that he has carefully reviewed the record
in this case and concludes there is no reversible error and that the appeal is frivolous.  See
Anders v. California, 386 U.S. 738, 744-45 (1967).  Counsel has also filed a motion to
withdraw in the case and, by letter, informed appellant of his right to file a pro se brief. 
Johnson v. State, 885 S.W.2d 641, 646 (Tex.App.-Waco 1994, pet. ref'd).  By letter dated
April 4, 2006, this court also notified appellant of his opportunity to submit a response to
the Anders brief and motion to withdraw filed by his counsel, granting him until May 4, 2006
to do so.  This court's letter also reminded appellant to contact his counsel if he needed
to review any part of the appellate record to prepare a response.  Appellant  filed a
response on May 3, 2006.  

	We have independently examined the entire record in the case to determine
whether there are any non-frivolous grounds which might support the appeal.  See Penson
v. Ohio, 488 U.S. 75 (1988); Stafford v. State, 813 S.W.2d 503, 511 (Tex.Crim.App. 1991). 
We have found no such grounds.  After reviewing the record before us, counsel's brief, and
appellant's response, we agree with counsel that the appeal is frivolous.  See Bledsoe v.
State, 178 S.W.3d 824 (Tex.Crim.App. 2005).

	Accordingly, counsel's motion to withdraw is granted and the judgment is affirmed.


						James T. Campbell

			    			        Justice



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